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                   FEDERAL PUBLIC DEFENDER
                       FOR THE NORTHERN DISTRICT OF TEXAS
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Via ECF

September 8, 2022

Lyle W. Cayce
Clerk of the Court
U.S. Court of Appeals for the Fifth Circuit
600 South Maestri Place
New Orleans, Louisiana 70130


           Re:     United States v. Rahimi, No. 21-11001: Citation of Recent Decision
                   in Frein v. Pennsylvania State Police, No. 21-1830, 2022 WL
                   3724097 (3d Cir. Aug. 30, 2022)

Dear Mr. Cayce:

       The parties agree that Seventeenth Century English laws allowed confiscation
of weapons from individuals the Crown or Parliament deemed to be “dangerous.” We
disagree about whether the American Second Amendment was designed to prohibit
this practice. See U.S. Supp. Br. 22 (citing the Militia Act of 1662).1

       Last Tuesday—the same day as argument in this case—the Third Circuit
recognized that the English habit of seizing weapons from people the government
deemed dangerous “planted” “the seeds of the Second Amendment” here in America.
Frein v. Pennsylvania State Police, No. 21-1830, 2022 WL 3724097, at *5 (3d Cir. Aug.

1
 The 1662 Militia Act came after the Restoration of the Monarchy, not before. I misstated the
chronology during argument.
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30, 2022) (citing Stephen P. Halbrook, That Every Man Be Armed 43, 62, 210 n.40
(1984), Joyce Lee Malcolm, To Keep and Bear Arms 23–53, 115–21 (1994), and Stephen
P. Halbrook, Encroachments of the Crown on the Liberty of the Subject: Pre-Revolutionary
Origins of the Second Amendment, 15 U. Dayton L. Rev. 91, 105 (1989)).

       Frein assumed—probably in dicta—that history and tradition support
confiscation of “guns from those who have been convicted of serious crimes or
committed dangerous acts.” 2022 WL 3724097, at *6 (emphasis added). But even if that
is true, it would not save § 922(g)(8). The statute does not merely “confiscate” guns
used to threaten or intimidate others. The law totally bans all possession of firearms,
even within the defendant’s own home, even if that home is nowhere near the person
protected by the court order. And it does so without requiring proof that the
defendant ever committed a dangerous act against the victim.

       The Government has yet to identify a single historical law that burdened the
right of an American citizen so severely under comparable circumstances. It certainly
has not identified a tradition of totally banning a citizen’s possession of firearms that
was “open, widespread, and unchallenged since the early days of the Republic.” New
York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2137 (2022).


                                         Respectfully submitted,

                                         /s/ J. Matthew Wright
                                         Assistant Federal Public Defender


cc (via ECF):       William A. Glaser
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                                      /s/ J. Matthew Wright
